Form odebtwage (Revised 10/20/2005)


                                      United States Bankruptcy Court − District of Kansas
                                               161 Robert J. Dole US Courthouse
                                                       500 State Avenue
                                                     Kansas City, KS 66101

Case Number: 15−20184                                             Chapter: 13

In re: (Name of Debtor)
Mark H Engen                                                      Maureen E. Engen
7905 W. 96th Street                                               7905 W. 96th Street
Overland Park, KS 66212                                           Overland Park, KS 66212

SSN: xxx−xx−2387                                                  SSN: xxx−xx−4794
                                                                                                        Filed By The Court
   Entered By The Court               ORDER TO DEBTOR(S)TO PAY TO THE TRUSTEE                                 2/6/15
          2/6/15                                                                                         David D. Zimmerman
                                                                                                            Clerk of Court
                                                                                                         US Bankruptcy Court


The Debtor(s) have submitted a plan to pay debts out of future earnings, and by this plan submits all future earnings and wages
under the supervision and control of the Court for the purpose of consummating the plan;
The Debtor(s)' are hereby ORDERED and DIRECTED, until further order of this Court, to pay the sum of:

                                                       $3,706.00 MONTHLY



BEGINNING ON THE NEXT PAY PERIOD FOLLOWING RECEIPT OF THIS ORDER TO:

                                                        William H. Griffin
                                                       Chapter 13 Trustee
                                                        P.O. Box 613106
                                                       Memphis, TN 38101
                                                         913−677−1311


IT IS FURTHER ORDERED that said Debtor(s) notify said Trustee if the employment of said Debtor(s) be terminated, and the
reason for such termination. This order supersedes any previous order, if any, made to you in this case.
YOU ARE DIRECTED TO CARRY THIS ORDER INTO EFFECT.




Document 8                                                        s/ Robert D. Berger
                                                                  United States Bankruptcy Judge




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